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Ronald Oxendine




    Ronald Oxendine




    N/A
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North Carolina




North Carolina




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11/28/11;               First Health of the      H. Willy Chu, MD
                        Carolinas                5 FirstVillage Drive
                        PO BOX 3000              Pinehurst, NC
                        PINEHURST, NC
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North Carolina Consumer Protection Law




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                                         /s Nicholas Farnolo



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